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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE



 BECK BRANCH LLC,

      Plaintiff,
                                                       CIVIL ACTION NO
      v.                                               1:18-cv-980-LPS-CJB
 POLYCOM, INC.,
                                                       JURY TRIAL DEMANDED
      Defendant.



                         NOTICE OF VOLUNTARY DISMISSAL



       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Beck

Branch LLC (“Plaintiff”) voluntarily dismisses this action without prejudice.          Plaintiff

affirmatively represents that the Defendant has not filed or served an answer, nor a motion for

summary judgment. Each party to bear its own costs and fees.

                                             Respectfully Submitted,
                                             BECK BRANCH LLC


Dated: September 5, 2018                 By: _/s/Stamatios Stamoulis______________

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                                CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who have consented to electronic service are

being served with a copy of this document via the Court’s CM/ECF system per Local Rule on

this, the 5th day of September, 2018. Any other counsel of record will be served by first

class U.S. mail on this same date.

                                                    /s/Stamatios Stamoulis
